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                                                                                                                                        EXHIBIT 10
                                                                                                                  !!;ti Ill' IT !'l I


     De : Noemie ASSUIED HODAFl/\
     Envoye : Wednosday, July 20, 2022 9:58:37 AM
     A: Samantha D. Malloy <SMnlloy<0 lcarnanthatlrnall<)Y-t::Qm>
     Cc : Heidi Paris <hoidhnparis@gmail.Go1n>
     ObJet : Heidi's commitment                                ~

12
     Dear Samantha,




     I hope this email finds you well.
+
      First of all Heidi and I thank you for your urgent help yesterday.



      Our meeting with Arnaud's lawyer lasted until 9PM and I was unable to get back to you before this morning.



      We have reached an agreement that allows Heidi to move to Ashland with the girls.




       You will !ind 1i11achod 111y 01iw1,1I 1,>H.ir lo Arnatid's law, er and her offic,al reply.




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                                                       El        e             D

•. '. '!                                           '
    W. have reached an agreement that allows Holdt to move to Ashland with the glrls.



    You will find attached my official letterto ,\maud's. lawyer and her olficlal reply,




     Under French law, this official letters exchange seals lhe parties' agreement.



     Wo would have loved to consult with you before committing to tho terms of tho attached letter but the timing was of essence : I sensed that, II Arnaud did noi'
     travel to the US last night, he would simply never accept It,



      The main point of the agreemenlls that, for Heidi to be entitled to move to the US with the girls, she must meet.a certain number ol conditions by A~gt1st   ~
      ~ase, making sureAmaud gets medl_cal Insurance In the US, etc... ).                                                                                 • • • '---t - •



     _i made sure that as described in the letter, the said conditions can be met (for Instance; we refused to condition the vaUdation of the move upon';w/
  --,<b.;;.ase this condition was not under Heidi's hands),              •                                                                            :-,/

    ltlt3' -
           \ii\;_;;-':'.
            ''-;-'' ··o1 that, Arnaud made II clear that the only way ho would accept moving the residence or tho family to the USA Is II Heidi COlllmit. to
                 ·;;,,);:1,:._,~)C_,."-· ·,.,i •   i                                                                                              I     • ",
                           ,,i~_"'r:~                                                                                                             '




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                                                                    D

He raaMy left her no choice.
                                                                                                                                         It
Ou! strategy Is the following : while accepting this clause, we added that. every year, the glris's residence will change : year 1 USA-year 2 Francei
                                                                                                                                                         I-•


The point of this clause is to make ii seem totally irrelevant to the girls' interest so thatan Oregon court would have no trouble accepting that Heidi;~i-i,&_
September 2024 when she:Wi!I remain stateside.                                                                                                                 --       -



 Indeed, Heidi's plan is to remain in Oregon at the end of the upcoming school year and to tell Arnaud, once Oregon courts have acqulrred jurisdiction (withsl},;(1,?{'
 January 2023), that she does not.plan to move back to France with the girls.                                                                                               ' •



 ii he Is unhappy with that change. he will have to file In Oregon courts and to obtain a decision allowing him to move back to France with the girls. -



  kl lhi possible dispute, Heidi will argue that the interest of the girls is not to. move from one place to another each year, that this is too much for hei, ~,,~
       5
\tt,em adapt to an evironment,_ etc .. ,                                                                                                                 i     •    -



       __ Ille folloWing wording in the agreement letter:
       ',,   ..__



                    -
                        ~ d.. enfants sero ensuite transferee en France.a la rantree de septembre 2023, puis de nouveau aux Elats;t.Ws
                                                                                                                                 '
                                                                                                                                       ~
                          !                                                                                                                   !   •

                              • ,•eng-nt Opoursulvro oof/o ntrornanco d'tma anneo sur l'nutro. sous res•rv• quo cot• sol! d•"" nnr.nt ~ _w
                                '\;.:: ·. '                                                                             ! _.     _.·· l:./;i>. !;j'



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i - - - - - - - - - - - - - - - - - - - -- -
        I 01..i Iha following wording In \ho agroomen\ let\or :



                 « La rOsidenco dos onfants sora onsuile trnnsfcrOo en France d fa rontree de septcmbre 2023, puis de nouveau aux Etats-Unis en sep!ambro 2024;




                 Las paronts s'engagent apoursuivro corto a/lemance d'una ann6o sur /'autre, sous r6servo que cola salt dans l'/ntBrdt dos enfants. »




          TRANSLATION:



                   'The children's residence will then be transferred to France at the slarl of tho school year In September 2023, then back lo tho United States in Sop19mbef- 2024.



                   Parents undertake to continue this alternation from ono year to the next, nrovidad that this Is In the interest of the children, »




            Can you teU us what value would be given to Heidi's commitment to move back to France after spending 8-9 months in Oregon and taking into consideration tt,&     ~
            _cira.rnstances (that arguably Heidi could not have foreseen ••• ):




                 : • The parental IMIParaUon ;
                 j • The girls being super happy and integrated in Oregon ;
                 '. •• Heidi having a new job in the us that does not allow her to work abroad.




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